  Case 05-15100                Doc 271           Filed 05/08/19 Entered 05/08/19 07:33:19                                    Desc Main
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